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           IN THE UNITED STATES DISTRICT COURT
          FOR THE SOUTHERN DISTRICT OF ALABAMA
                    SOUTHERN DIVISION

UNITED STATES OF AMERICA )
                         )
v.                       )                CRIM. NO. 19-00053-WS-B
                         )
TERRANCE WILLIAMS        )

           UNITED STATES’ RESPONSE TO WILLIAMS’
                   28 U.S.C. § 2255 MOTION
      The United States, by and through Sean P. Costello, the United
States Attorney for the Southern District of Alabama, submits this re-
sponse to Terrance Dwayne Williams’ pro se motion seeking relief under
28 U.S.C. § 2255. [Doc. No. 84.] He argues that he was denied his right
to counsel during several phases of his trial proceedings and on appeal.

He also moves for discovery of several categories of documents, which he
alleges contain evidence withheld from him that would have been helpful
to his defense. [Doc. No. 86.]
      The record affirmatively contradicts Williams’ claims that he was
denied his right to counsel so they should be denied without a hearing.
Similarly, Williams’ claim that evidence was improperly withheld from
the defense is waived and meritless, so it should be dismissed. The same
evidence would not affect the merits of his claims of ineffective assistance
of counsel, so there is no good cause to order discovery. His motion for
discovery should thus also be denied.
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I.        Background and Procedural History
          In 2019, a grand jury returned an indictment charging Williams

with five counts of possessing cocaine with the intent to distribute it (21
U.S.C. § 841(a)(1)). [Doc. No. 1.] Attorney Samuel Briskman represented
him during his district court proceedings.

     A.     The motion to suppress
          Counsel for Williams moved to suppress evidence seized during the
execution of a search warrant at Williams’ residence on Overlook Road.
[Doc. No. 19.] Counsel argued that the delay between the issuance of the

search warrant and its execution was unreasonable and that there was
“no indication of reliability of the CI.” [Id. at 1, 3.]
          The United States opposed the motion to suppress. It first ex-

plained that delay in the execution of a search warrant was only grounds
for suppression where there was “prejudice” or “evidence of an intentional
and deliberate disregard” for the deadline set out in Rule 41 of the Fed-
eral Rules of Criminal Procedure. [Doc. No. 26 at 2 (quoting United
States v. Gerber, 994 F.2d 1556, 1560 (11th Cir. 1993)).] Williams had
not met that standard, since officers executed the search warrant within

the deadline set out in that rule. [Id.]
          The United States also addressed the reliability of the CI.       It
pointed out that the search warrant application detailed the CI’s reliabil-
ity, including how the information the CI provided in earlier cases had
“been proven to be reliable” and had “led to the arrest of individuals for

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various drug crimes and also the seizure of various illegal narcotics.” [Id.
at 3.] Against that evidence of the CI’s reliability, the United States ob-

served that there was no indication that the CI was unreliable. [Id.]
Indeed, officers equipped the CI with audio/video recording equipment as
well as tracking equipment, and officers watched the CI while en route
to their video-recorded transactions with Williams. [Id.]
        After the United States filed its opposition to Williams’ motion,
counsel for Williams moved to withdraw the motion. [Doc. No. 27.] The

district court granted the motion to withdraw, noting that the United
States’ response had “convincingly refuted defendant’s arguments for
suppression.” [Doc. No. 28.]

   B.     Williams enters a knowing and voluntary guilty plea
        Williams pled guilty to count five of the indictment, possessing co-
caine with the intent to distribute it in violation of 21 U.S.C. § 841(a)(1).
Through his written plea agreement, Williams confirmed that he under-

stood his rights to be represented by an attorney, plead not guilty,
proceed to trial, cross-examine witnesses, produce evidence in his own
defense, and not be compelled to incriminate himself. [Doc. No. 33 at 1.]

The agreement indicated that he had discussed the facts of his case with
his attorney, that his attorney had explained the essential legal elements
of the charge, and that he was satisfied with his attorney’s “faithful[ ],




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skillful[ ], and diligent[ ]” representation. [Id. at 2.] The agreement fur-
ther confirmed that Williams had not been coerced to plead guilty and

that he understood the maximum penalty for the offense. [Id. at 3–5.]
      The written plea agreement made clear that Williams “ha[d] re-
viewed the application of the Guidelines with his attorney and
underst[ood] that no one can predict with certainty what the sentencing
range will be in this case” until the Court has ruled on the pre-sentence
investigation report. [Id. at 4.] And, it emphasized that Williams under-

stood that “he w[ould] not be allowed to withdraw his guilty plea if the
advisory guideline range is higher than expected, or if the Court departs
or varies from the advisory guideline range.” [Id. at 4.] That being said,
the plea agreement included the United States’ commitment to recom-
mend that Williams be sentenced at “the low end of the advisory
sentencing guideline range per count of conviction as determined by the
Court.” [Id. at 6.]
      Through his plea agreement, Williams “agree[d] to confess the for-
feiture to the United States of all properties which represent proceeds of
his criminal activities or which facilitated any aspect of these illegal ac-
tivities.” [Id. at 5.]
      Williams’ written plea agreement also included a waiver of appeal
and collateral attack. [Id. at 6–7.] Williams agreed to “knowingly and
voluntarily waive[ ] the right to file any direct appeal or any collateral
attack, including a motion to vacate, set aside, or correct sentence under

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28 U.S.C. § 2255.” [Id.] Under the agreement, Williams would still be
able to argue on direct appeal that his sentence exceeded the statutory

maximum, and he could also appeal based on an upward departure or
variance. [Id. at 7.] He further retained the ability to argue that he had
received the ineffective assistance of counsel in a 28 U.S.C. § 2255 mo-
tion. [Id.]
      A factual resume accompanying Williams’ plea agreement de-
scribed the factual basis for his plea. [Id. at 10–11.] He admitted that a

CI had made four videotaped controlled buys of cocaine from Williams,
concluding in a “buy/bust” operation involving 140 grams of cocaine
which Williams intended to sell to the CI. [Id.] The factual resume also
detailed officers’ recovery of another ounce of cocaine and $41,459 in cash
at his home, which he “agree[d] to forfeit” as “drug proceeds.” [Id.]
      Williams entered his guilty plea before Judge William H. Steele.
[Doc. No. 79.] During the plea colloquy, Williams confirmed that his at-
torney had reviewed the indictment in his case with him and that he fully
understood the charges. [Id. at 3.] He further assured the Court that he
was “fully satisfied” with his attorney’s performance and had “fully dis-
cussed” the facts surrounding the charge with his attorney. [Id.]
      Williams next assured the Court that he had had an opportunity to
review the plea agreement with his attorney. [Id. at 4.] In response to
the Court’s question, he assured it that he “fully understood the terms
and conditions of the plea agreement and the factual resume, and that

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[he] agree[d] with it.” [Id.] He specifically assured the Court that he
understood that the Court would not be able to determine an appropriate

sentence until resolution of objections to the presentence investigation
report and that the ultimate sentence imposed “might be different from
any estimate [his] attorney or anyone else might have given [him].” [Id.
at 6.] He further understood that he would be bound by his plea agree-
ment even if his sentence was “more severe” than he expected. [Id.]
Williams also agreed that he understood the waiver of appeal in the plea

agreement. [Id. at 6–7.]
        Finally, in response to the Court’s questions, Williams agreed that
the material facts in the factual resume were accurate: he knowingly pos-
sessed cocaine with the intent to distribute it. [Id. at 8.] The Court found
that Williams’ decision to plead guilty was knowing and voluntary, and
accepted his plea. [Id. at 8–9.]

   C.     The district court sentences Williams as a career offender
          over defense counsel’s objection
        The pre-sentence investigation report (“PSR”) detailed Williams’
criminal history. In 1997, he pled guilty to conspiring to possess powder
and crack cocaine with the intent to distribute it. [Doc. No. 48 at 6.] He
was sentenced to 63 months in prison, began a term of supervised release
in 2000, and was sentenced to 27 months for violating the terms of his
supervised release in 2004. [Id.] In 2004, he was found guilty in state
court of trafficking in cocaine, which required that he “did knowingly sell,

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manufacture, deliver, bring into this state, actually possess, or construc-
tively possess 28 grams or more” of cocaine. [Doc. No. 48 at 7.] He was

sentenced to 20 years in prison for that offense and released to parole in
2012. [Id.] The PSR determined that Williams was a career offender
under U.S.S.G. §4B1.1(b). [Id. at 7.]
        Counsel for Williams filed an objection to the PSR noting that Wil-
liams “intends to challenge his 2004 conviction” for trafficking cocaine on
“constitutional” grounds. [Doc. No. 52 at 1.] Therefore, counsel argued,

that conviction should not be considered “final” for purposes of determin-
ing whether Williams was a career offender. [Id.]
        At sentencing, counsel for Williams expanded on his objection to the
career-offender designation. [Doc. No. 76.] Counsel argued that, in ad-
dition to the prospective constitutional challenge to Williams’ 2004
conviction, the Court should also disregard both convictions because they
were remote in time. [Id. at 3.] The Court overruled counsel’s objections.
[Id. at 5.]
        The district court ultimately imposed the low-end Guidelines sen-
tence of 151 months in prison. [Id. at 20.]

   D.     Williams’ attorney on appeal files an Anders brief
        Williams’ attorney on appeal, Domingo Soto, filed an Anders brief
with the Court of Appeals. [Exhibit A.] Counsel’s brief described the




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proceedings in Williams’ case in detail. [Id. at 5–15.1] In doing so, coun-
sel concluded that he discerned no appealable issue in those proceedings.

[Id.] In particular, counsel concluded that Williams’ plea agreement—
including its waiver of appeal—was enforceable. [Id. at 14–15.] Counsel
then discussed the exceptions to Williams’ waiver of appeal and con-
cluded that none of those exceptions applied in his case. [Id. at 16–17.]
        Finally, counsel concluded that there were no preserved or appeal-
able sentencing issues in Williams’ case. Counsel considered whether

certain convictions in Williams’ criminal history were too remote to count
toward career-offender status, and concluded that they were not. [Id. at
17–18.] Counsel also considered whether one of Williams’ prior convic-
tions, an Alabama conviction for trafficking in cocaine, should have been
excluded based on Williams’ assertion that he “intended” to challenge it
on constitutional grounds. [Id. at 19.] Counsel concluded that no such
challenge was evident in the record and that any prospective challenge
would be procedurally defaulted. [Id. at 19–21.] Counsel certified that
he had supplied Williams with a copy of the brief. [Id. at 22.]

   E.       The Court of Appeals dismisses Williams’ appeal based on
            his valid waiver of appeal
        The United States moved to dismiss Williams’ appeal based on his
valid waiver of appeal and the Court of Appeals granted the motion. [Doc.


       Citations to Exhibit A are to the printed page numbers at the bot-
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tom of each page, not to the electronic numbers at the top.
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No. 81.] That court concluded that “Williams knowingly and voluntarily
waived his right to appeal his sentence.” [Id. at 2.] It observed that de-

fense counsel had objected to career-offender status during sentencing,
but that issue was within the scope of his appeal waiver because it waived
“the right to appeal debatable legal issues.” [Id. at 2–3.]

II.        Summary of Williams’ Arguments

      A.     28 U.S.C. § 2255
           Williams writes that he is entitled to relief under 28 U.S.C. § 2255
because he was denied his right to counsel at several stages of his trial
proceedings and on appeal. [Doc. No. 84.]
           Suppression motion. Williams’ first enumerated claim is that his
attorney did not conduct a background check on a confidential informant
who investigators relied upon when seeking a search warrant of Wil-
liams’ residence. [Id. at 4; Doc. No. 84-1 at 1, 5.] Had counsel done an
adequate investigation, Williams says, counsel would have discovered
that the CI had pending drug charges in another state. [Doc. No. 84-1 at

1.]
           Relatedly, Williams faults his attorney for withdrawing the motion
to suppress. [Doc. Nos. 84 at 8; 84-1 at 5.] He writes that the motion had

a “good chance” of success because the CI’s information was hearsay, the
CI did not go to the residence, and the controlled buys did not occur at




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 the residence. [Doc. No. 84 at 8.] He also implies that the CI’s motiva-
 tions were disqualifying.    [Id.]   Williams argues that “there was no

 strategic reason other than incompetence” for his attorney to withdraw
 the suppression motion. [Doc. No. 84-1 at 5.]
       Plea proceeding. Williams next argues that counsel “persuaded”
 him to plead guilty “at the last minute.” [Doc. No. 84 at 5.] In Williams’
 view, the plea agreement “provided [him] with no benefits,” including a
 waiver of any ability to challenge the forfeiture of property in his case,

 which he suggests was improperly included in the agreement. [Doc. No.
 84-1 at 3.] He says that the first time that counsel told him about the
 plea offer was on the day of his plea proceeding. [Id.]
       Sentencing. At sentencing, Williams argues that counsel did not
 properly preserve an argument that he was not a career offender. [Doc.
 No. 84 at 7.] Instead, he writes, counsel should have argued that his prior
 offense was “indivisible” under Mathis v. United States, 136 S. Ct. 2243
 (2016), and that, applying the categorical approach to his prior convic-
 tion, he should not have been sentenced as a career offender. [Id.; Doc.
 No. 84-1 at 4–5.]
       Appeal. Finally, Williams argues that he was denied his right to
 counsel on appeal because his lawyer on appeal, Domingo Soto, filed an
 Anders brief when he “could have raised a couple of issues on direct ap-
 peal.” [Doc. No. 84-1 at 20.] He says that his lawyer could have argued



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 that the career offender enhancement did not apply in his case or that
 his trial attorney had been ineffective. [Id. at 4, 20.]

    B.     Motion for discovery
         Williams also filed a document captioned as a “motion for discov-
 ery.” [Doc. No. 86.] He writes that he has shown “good cause” under Rule
 6 of the Rules Governing Section 2254 and 2255 motions. [Id. at 1.] Spe-

 cifically, he requests “grand jury transcripts,” “chain of custody
 authorization” for the CI, “investigative materials,” and the “case file.”
 [Id. at 2.] He asserts that those materials would establish that the

 United States “withheld favorable evidence from the defense and the
 court about the confidential informant,” to wit: that the CI had pending
 drug charges at the time of the investigation and had crossed state lines

 “in the capacity of a special agent.” [Id.]

 III. Applicable Legal Principles
         Collateral review “is an extraordinary remedy” that “will not be al-
 lowed to do service for an appeal.” Bousley v. United States, 523 U.S. 614,

 621 (1998). After direct appeal, “a presumption of finality and legality
 attaches to the conviction and sentence.” Brecht v. Abrahamson, 507 U.S.
 619, 633 (1993). Thereafter, courts are “entitled to presume” that the

 defendant’s sentence is lawful. United States v. Frady, 456 U.S. 152, 164
 (1982). The burden of proof on collateral review is therefore on the pris-
 oner to show that they are entitled to the relief they seek. Hawk v. Olson,


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 326 U.S. 271, 279 (1945); Beeman v. United States, 871 F.3d 1215, 1221–
 22 (11th Cir. 2017). Even when a prisoner demonstrates an error in the

 proceedings, they are not entitled to relief unless they show that the error
 caused a “substantial and injurious effect or influence” in those proceed-
 ings. Brecht, 507 U.S. at 638.
       A court does not need to hold a hearing on the motion if “the motion
 and the files and records of the case conclusively show that the prisoner
 is entitled to no relief.” 28 U.S.C. § 2255(b). Thus, “when the petitioner’s

 allegations are affirmatively contradicted by the record or if such claims
 are patently frivolous,” this Court should deny the motion without a hear-
 ing. Rosin v. United States, 786 F.3d 873, 877 (11th Cir. 2015). Where a
 district court decides to deny a movant’s request for a hearing, the Elev-
 enth Circuit reviews that decision for an abuse of discretion. Id.
       Further, a hearing is not necessary where the motion is “based upon
 unsupported generalizations.” United States v. Guerra, 588 F.2d 519,
 520–21 (5th Cir. 1979).2 Indeed, where a defendant’s motion contains
 only “conclusory allegations unsupported by specifics,” this Court may
 deny it without further proceedings. Blackledge v. Allison, 431 U.S. 63,
 74 (1977); Caderno v. United States, 256 F.3d 1213, 1217 (11th Cir. 2001).
 Rather, to be entitled to an evidentiary hearing, a § 2255 petitioner must


       2 In Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir. 1981)
 (en banc), the Eleventh Circuit adopted as binding precedent all decisions
 of the former Fifth Circuit handed down prior to October 1, 1981.
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 allege “reasonably specific, non-conclusory facts that, if true, would enti-
 tle him to relief.” Aron v. United States, 291 F.3d 708, 715 n.6 (11th Cir.

 2002).
       This Court is familiar with the “rigorous standard” of Strickland v.
 Washington, 466 U.S. 668, 687 (1984). Under that standard, a defendant
 claiming ineffective assistance of counsel must show that counsel’s per-
 formance was deficient in that it fell “below an objective standard of
 reasonableness.” Strickland, 466 U.S. at 688. The defendant must also

 show that there was “a reasonable probability that, but for counsel’s un-
 professional errors, the result of the proceeding would have been
 different.” Id. at 694. The burden of persuasion is on petitioner to prove,
 by a preponderance of the competent evidence, both that counsel’s per-
 formance was unreasonable, Chandler v. United States, 218 F.3d 1305,
 1313 (11th Cir. 2000) (en banc), and that he was prejudiced by that per-
 formance. Gilreath v. Head, 234 F.3d 547, 551 (11th Cir. 2000).

 IV.   Analysis
       Williams’ motions should be denied. His claims that he was denied
 his right to counsel should be denied without a hearing because the ex-
 isting record refutes his claims. To the extent that he raises a claim
 under Brady v. Maryland, 373 U.S. 83 (1963), it is both waived and mer-
 itless. Finally, the documents he requests in his motion for discovery

 would not change the result of any of his claims, so good cause does not
 exist to order discovery.
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    A.        Suppression motion
         Williams was not denied his right to counsel before his guilty plea.

 He argues that counsel should have done more to investigate the credi-
 bility of a CI involved in the investigation and, relatedly, that counsel
 should have persisted in moving to suppress evidence found at his home.
 His argument is meritless.
         At the outset, however, the Court need not reach the adequacy of
 counsel’s pre-plea performance if it determines, as argued in Section

 IV.B. infra, that Williams had the able assistance of counsel at his
 change-of-plea proceeding and entered a knowing and voluntary guilty
 plea. Regardless, and as detailed below, Williams has not shown that he
 was denied his right to counsel prior to his guilty plea.

         1.     Williams waived his suppression-motion argument by
                entering a knowing and voluntary guilty plea
         When a defendant admits that he is guilty of a charged offense, “he
 may not thereafter raise independent claims relating to the deprivation
 of constitutional rights that occurred prior to the entry of the guilty plea.”
 Tollett v. Henderson, 411 U.S. 258, 267 (1973). That includes claims re-
 lating to suppression issues, since they are not jurisdictional. Franklin
 v. United States, 589 F.2d 192, 194–95 (5th Cir. 1979). Accordingly, Wil-
 liams’ argument that he was denied his right to counsel before his guilty
 plea “is waived unless his guilty plea was unknowing, involuntary, and

 unintelligently given.” Fisher v. United States, 2012 WL 6680315 at *6


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 (S.D. Ala. Dec. 3, 2012); accord Bullard v. Warden, Jenkins Corr. Ctr.,
 610 F. App’x 821, 824 (11th Cir. 2015).

       Williams had the able assistance of counsel at his plea proceeding
 and entered a knowing and voluntary plea. See Section IV.B, infra. Wil-
 liams’ plea therefore waived any prior nonjurisdictional defect in the
 proceedings, including his claim that he was denied his right to counsel
 in relation to the suppression motion.

       2.   Williams was not denied his right to counsel in relation
            to counsel’s attempt to suppress evidence
       Williams was not denied his right to counsel with respect to the
 suppression motion. Counsel did all that he could to interrogate the ve-
 racity of the search warrant affidavit and wisely withdrew the motion to

 suppress as meritless. Regardless, Williams was not prejudiced by coun-
 sel’s performance because any additional effort to pursue the motion to
 suppress would have failed.
       Any effort to seek to compel the CI’s identity would have failed. The
 United States possesses a privilege to withhold from disclosure the iden-
 tity of persons who furnish information of violations of law to law
 enforcement officials. Roviaro v. United States, 353 U.S. 53, 59 (1957).
 That privilege is not absolute; it may be overcome where “the disclosure
 of an informer’s identity, or of the contents of his communication, is rele-

 vant and helpful to the defense of an accused, or is essential to a fair
 determination of a cause.” Id. at 60–61. The Eleventh Circuit Court of

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 Appeals has identified three factors to consider when balancing the in-
 terests in disclosure against the interests of nondisclosure of a CI’s

 identity: (1) “the extent of the informant’s participation in the criminal
 activity,” (2) “the directness of the relationship between the defendant’s
 asserted defense and the probable testimony of the informant,” and (3)
 “the government’s interest in nondisclosure.” United States v. Gutierrez,
 931 F.2d 1482, 1490 (11th Cir. 1991) (quotation omitted).
       Before weighing the balancing factors concerning disclosure of a

 CI’s identity, a court must first ascertain whether the United States has
 a valid reason for nondisclosure. United States v. Tenorio-Angel, 756 F.2d
 1505, 1511 (11th Cir. 1985). “Typically, the Government’s justification
 for refusing disclosure is that the CI’s physical safety may be endangered
 by disclosure, or the CI’s usefulness as a confidential source, past or fu-
 ture, may be impaired as a result of releasing his or her identity.” See
 United States v. Robinson, 2008 WL 5381824 at *4 (S.D. Fla. Dec. 19,
 2008).
       Applying those principles, counsel’s efforts were reasonable be-
 cause any attempt to reveal the CI’s identity would have failed. And, “an
 attorney will not be held to have performed deficiently for failing to per-
 form a futile act.” Pinkney v. Sec’y, DOC, 876 F.3d 1290, 1297 (11th Cir.
 2017). As in other cases involving CIs, the United States had an appro-
 priate reason for not disclosing the identity of the CI. Had the topic been
 litigated prior to the suppression hearing, the United States would have

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 pointed out that releasing the CI’s identity would have risked putting
 that individual in harm’s way and undermined investigations past, pre-

 sent, and future.3
       Williams’ interest in the CI’s identity would not have outweighed
 the United States’ interest in nondisclosure. To be sure, the CI was a
 witness to Williams’ criminal conduct that supported the issuance of the
 search warrant. [See Doc. No. 26-1 at 3–13.] But the CI’s testimony
 would not have been directly relevant to whether the search warrant was

 properly issued. As the United States emphasized in its opposition to the
 motion to suppress, and as detailed in the search warrant affidavit, law
 enforcement supplied the CI with an audio-visual recording device that
 recorded drug deals with Williams on four separate occasions: in October
 and November of 2018. [See Doc. Nos. 26 at 3; 26-1 at 6, 7, 9, 11.]
       Given how the search warrant was supported by audio-visual re-
 cordings of Williams’ drug-distribution conduct on four separate
 occasions, Williams would not have prevailed in seeking to unmask the
 CI. That is because, whatever the CI’s testimony would have been, the

 search warrant would have been amply supported by indisputable evi-
 dence of his illegal conduct.

       3 Williams’ filing implies that he believes that he knows the identity
 of the CI in his case. His assertion to that effect does not change the
 analysis, since there remains a “general interest in maintaining the in-
 formant’s confidentiality” even where a defendant believes that they
 already know the identity of the CI. Tenorio-Angel, 756 F.2d at 1510
 (collecting cases).
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       Notably, Williams does not now argue that the description of his
 conduct in the search warrant affidavit was false. [See Doc. Nos. 84 at 4,

 8.] Instead, he suggests that the supposed CI’s pending drug charges or
 motivations were disqualifying in some way, and that an attack on the
 CI’s credibility would have led to suppression of the challenged evidence.
 [Id.] But whatever the CI’s credibility or motivations, the video record-
 ings of Williams’ conduct would have remained and firmly established
 probable cause to issue the search warrant.

       In short, Williams has not shown that counsel’s performance was
 deficient for not pursuing more information about the CI. Since the effort
 would have been fruitless, counsel’s decision against pursuing more in-
 formation was not deficient performance. Pinkney, 876 F.3d at 1297.
       Williams also faults counsel for withdrawing the motion to sup-
 press. [Doc. Nos. 84 at 8; 84-1 at 5.] He contends that counsel should
 have persisted in the suppression motion because the CI’s statements
 were hearsay and that the CI’s motivations were improper. [Id.] But
 courts may rely on hearsay evidence from a CI where the issuing judge
 makes the “practical, common-sense decision” that the totality of the cir-
 cumstances, including the veracity and basis of the CI’s knowledge,
 support a fair probability that evidence of a crime will be found in a par-
 ticular place. Illinois v. Gates, 462 U.S. 213, 238 (1983). That was the
 case here, since the affidavit related the affiant’s description of the CI’s
 past information as reliable and explained how the CI’s description of the

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 controlled buys were corroborated by video recordings and independent
 law enforcement observations of the events. [Doc. No. 26-1 at 1–2, 6, 7,

 9, 11.]
       Williams further argues that counsel should have pursued the mo-
 tion to suppress because the controlled buys did not occur at the residence
 that was ultimately searched, which he says would have supported sup-
 pression. [Doc. No. 84 at 8.] However, the affidavit detailed the reliable
 CI’s information that Williams was storing suspected powder cocaine at

 his residence. [Doc. No. 26-1 at 3.] It also detailed how officers observed
 Williams return to the residence in question immediately after two of the
 controlled buys. [Id. at 10, 13.] The affiant further related that, in his
 training and experience “drug dealers commonly keep currency, notes,
 and other documents related to their drug transactions.” [Id. at 14.]
 Those circumstances provided ample probable cause to believe that evi-
 dence of Williams crimes would be found at his residence even though the
 controlled buys occurred elsewhere.
       The record conclusively contradicts Williams’ arguments concern-
 ing counsel’s efforts to suppress evidence found in the execution of a
 search warrant of his house. He has thus failed to show that counsel’s
 efforts “fell below an objective standard of reasonableness.” Strickland,
 466 U.S. at 688.
       For the same reasons, Williams cannot meet Strickland’s prejudice
 prong. Even had counsel taken the steps Williams says he should have

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 taken, those steps would have led to the same result, meaning Williams
 was not prejudiced. Strickland, 466 U.S. at 694. Under either prong,

 Williams’ arguments concerning the suppression motion should be de-
 nied.

    B.     Plea proceeding
         The record of Williams’ change-of-plea hearing conclusively shows

 that his decision to plead guilty was knowing and voluntary. That record
 affirmatively contradicts his current arguments that counsel’s perfor-
 mance was deficient because counsel “persuaded” him to plead guilty “at

 the last minute” and because the plea agreement was not beneficial.
 [Doc. Nos. 84 at 5, 84-1 at 3.]
         Williams’ sworn statements at his change-of-plea hearing establish

 that he entered his plea knowingly and voluntarily. He assured the
 Court that he had “fully discussed” the facts surrounding the charges
 against him and that he “fully understood the terms and conditions of the

 plea agreement.” [Doc. No. 79 at 3–4.] In turn, that agreement reflected
 his understanding that he would waive his trial rights by pleading guilty.
 [Doc. No. 33 at 1.] The same agreement confirmed that Williams under-

 stood his sentencing exposure, the application of the Sentencing
 Guidelines to his case, and the possibility that the Court could depart or
 vary from the Guidelines range. [Id. at 4.] And, the plea agreement in-

 cluded Williams’ agreement to confess forfeiture of property related to his
 criminal activity. [Id. at 5.] Based on Williams’ understanding of the
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 written plea agreement and on his sworn statements in Court, the Court
 appropriately found that his decision to plead guilty was knowing and

 voluntary, and accepted the plea. [Doc. No. 79 at 8–9.]
       The assertions in Williams’ motion do not establish that he was de-
 nied his right to counsel at that proceeding. Setting aside whether his
 claims would establish a viable claim of ineffective assistance of counsel
 even if they were credited, they are affirmatively contradicted by the rec-
 ord. And, there is a “strong presumption” that his sworn statements at

 the plea proceeding were true. United States v. Medlock, 12 F.3d 185,
 187 (11th Cir. 1994).
       For example, Williams now contends that his attorney “persuaded”
 him to plead guilty “at the last minute.” [Doc. Nos. 84 at 5; 84-1 at 3.]
 But, as noted, Williams assured the Court that he had “fully discussed”
 his case with his attorney. [Doc. No. 79 at 3.] His in-court statements
 confirmed the language in the written plea agreement, which reflected
 that he had had adequate time to consult with his attorney; that he was
 satisfied with his attorney’s “faithful[ ], skillful[ ], and diligent[ ]” repre-
 sentation; and that he had not been coerced into pleading guilty. [Doc.
 No. 33 at 2–5.]
       Similarly, Williams now claims that the plea agreement “provided
 [him] with no benefits,” singling out the provision in which he agreed to
 confess forfeiture of property related to his illegal activity. [Doc. No. 84-
 1 at 3.] But Williams assured the Court that he had reviewed the plea

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 agreement with his attorney and that he understood it. [Doc. No. 79 at
 4.] His subsequent knowing and voluntary decision to enter a guilty plea

 pursuant to that agreement reflects his personal weighing of the ad-
 vantages and disadvantages of agreeing to the terms of the agreement.
 That the agreement had significant advantages bears emphasis: in ex-
 change for pleading guilty, Williams secured the United States’
 agreement to dismiss the four other counts of the indictment, its agree-
 ment to recommend a sentence on the low end of the Guidelines range,

 and acceptance-of-responsibility credit lowering his offense level. [Doc.
 Nos. 33 at 6; 48 at 5.]
       To the extent that Williams argues that counsel should have nego-
 tiated a more favorable plea agreement [Doc. No. 84-1 at 3], that
 argument fails as well. His apparent belief that counsel should have been
 able to negotiate a more favorable plea agreement falls far short of estab-
 lishing facts supporting a claim of ineffective assistance of counsel.
 Williams does not assert, let alone establish, that the United States
 would have been open to a different plea agreement or that the Court
 would have accepted it. Williams’ conclusory suggestion to the contrary
 is insufficient to support a claim that he was denied his right to counsel.
 Aron, 291 F.3d at 715 n.6.
       Finally, Williams suggests that it was improper for the plea agree-
 ment in his case to include a confession of forfeiture and that counsel’s
 performance was deficient for not raising an objection to that provision.

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 [Doc. No. 84-1 at 3.] But as the Supreme Court has held, “Congress con-
 ceived of forfeiture as punishment for the commission of various drug and

 racketeering crimes” and is properly considered a part of a defendant’s
 sentence. Libretti v. United States, 516 U.S. 29, 39 (1995). Counsel was
 doubtless aware that the forfeiture provision in Williams’ plea agreement
 was entirely proper, and it was not deficient performance for counsel to
 decline to seek to renegotiate the agreement based on the idea that the
 forfeiture provision was unlawful, particularly since Williams’ agreement

 to it was knowing and voluntary.
         Thus, the record conclusively establishes that counsel’s perfor-
 mance at Williams’ plea proceeding was reasonable. And, since his plea
 was knowing and voluntary, Williams cannot show that he was preju-
 diced by counsel’s performance because the same outcome would have
 resulted: his knowing and voluntary plea.

    C.     Sentencing
         Williams was not denied his right to counsel at sentencing. He al-
 leges that counsel should have done more to contest the district court’s
 conclusion that he was a career offender under U.S.S.G. §4B1.1(b)(3).

 [Doc. Nos. 84 at 7; 84-1 at 4–5.] However, any such effort would have
 been meritless, so counsel’s performance was not deficient and Williams
 was not prejudiced by the absence of further argument on that issue.

         Under U.S.S.G. §4B1.1, a defendant qualifies as a career offender
 where (1) the defendant was eighteen years of age or older at the time of
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 the offense of conviction, (2) the current offense of conviction is a felony
 that constitutes either a “crime of violence” or a “controlled substance

 offense,” and (3) the defendant previously was convicted of at least two
 felony offenses for either a “crime of violence” or a “controlled substance
 offense.” U.S.S.G. §4B1.1(a). The Guidelines define a “controlled sub-
 stance offense” as meaning an offense “under federal or state law,
 punishable by imprisonment for a term exceeding one year, that prohibits
 . . . the possession of a controlled substance (or a counterfeit substance)

 within intent to manufacture, import, export, distribute, or dispense.” Id.
 §4B1.2(b). An application note to that section specifies that the term
 “controlled substance offense” includes “the offenses of aiding and abet-
 ting, conspiring, and attempting to commit such crimes.” Id. §4B1.2 app.
 note 1.
       Williams met every criterion for career-offender status, so the Court
 properly found that he was a career offender. He had two prior felony
 convictions for controlled substance offenses: a 1996 federal conviction
 for conspiring to possess powder and crack cocaine with the intent to dis-
 tribute it and a 2004 state conviction for trafficking in cocaine. [Doc. No.
 48 at 6–7.] And, his offense of conviction in this case was also a controlled
 substance offense.
       Williams now faults his attorney for not invoking the Supreme
 Court’s decision in Mathis v. United States, 136 S. Ct. 2243 (2016) and



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 arguing that one of his convictions would not count toward career-of-
 fender status.    [Doc. Nos. 84 at 7; 84-1 at 4–5.]       His argument is

 conclusory and vague, since it does not identify which of his prior convic-
 tions he is referring to. [Id.] His argument contains mere “unsupported
 generalizations” about defense counsel’s efforts at sentencing, so it can
 be denied out of hand without a hearing. Guerra, 588 F.2d at 520–21.
       It nevertheless bears mention that the Supreme Court’s decision in
 Mathis would have no bearing on his case. That case describes the proper

 application of the categorical and modified-categorical approach used to
 determine whether a prior conviction falls into a certain defined category,
 such as a crime of violence as defined in the Armed Career Criminal Act
 or a controlled substance offense as defined in the Sentencing Guidelines.
 See generally United States v. Bates, 960 F.3d 1278, 1285–87 (11th Cir.
 2020).
       Both of Williams’ prior felony convictions are categorically con-
 trolled substance offenses under U.S.S.G. §4B1.2(b).         To determine
 whether a prior conviction falls into a certain category using the “cate-
 gorical” approach, courts compare the elements of the crime to the
 statutory definition, looking “only to the elements of the predicate offense
 statute” and not to the facts of the defendant’s particular case. Bates,
 960 F.3d at 1286.
       Williams’ first qualifying conviction was for conspiracy to possess
 crack cocaine with the intent to distribute it in violation of 21 U.S.C.

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 § 846. [Doc. No. 48 at 6.] As the Eleventh Circuit has repeatedly held, a
 violation of that provision constitutes a “controlled substance offense”

 within the meaning of that term in the career-offender provisions. See
 United States v. Dupree, 849 F. App’x 911, 912 (11th Cir. 2021) (citing
 United States v. Weir, 51 F.3d 1031, 1032 (11th Cir. 1995)).
       Williams’ other qualifying was for violating Alabama’s law prohib-
 iting “trafficking in cocaine,” Ala. Code § 13A-12-231(2). [See Doc. No. 48
 at 7; see also AlaCourt entry for Baldwin County case number CC04-

 1266.] Under that statute, a person is guilty of “trafficking in cocaine” if
 they “knowingly sell[ ], manufacture[ ], deliver[ ], or bring[ ] into” Ala-
 bama 28 grams or more of cocaine or any mixture containing cocaine, or
 if a person is in “actual or constructive possession” of that amount of co-
 caine or a mixture containing cocaine. Ala. Code § 13A-12-231(2)(a). To
 be sure, that statute criminalizes the possession of more than 28 grams
 of cocaine without expressly requiring the element that the defendant
 intended to distribute the substance. However, the Eleventh Circuit has
 interpreted an identical Georgia statute to meet the Guidelines’ criteria
 for “controlled substance offenses.” Hollis v. United States, 958 F.3d
 1120, 1123 (11th Cir. 2020). That is because the quantity element—at
 least 28 grams of cocaine—along with the statute’s assignment of the la-
 bel “trafficking” to the statute, allows the inference that the defendant’s
 possession of that amount of cocaine was possessed with the intent to
 distribute it. Hollis, 958 F.3d at 1123–24.

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         Just like convictions for violating the identical Georgia law, Wil-
 liams’ Alabama conviction for “trafficking in cocaine” also constituted a

 “controlled substance offense” under the Guidelines. The statute crimi-
 nalized “trafficking” in that substance because, at minimum, the
 defendant possessed 28 grams of cocaine, enough to infer that their intent
 was to distribute it. See id. (citing United States v. White, 837 F.3d 1225,
 1232–34 (11th Cir. 2016) (holding that a conviction for violating Ala.
 Code § 13A-12-231(2)(a) met the definition of “serious drug offense” in the

 Armed Career Criminal Act)).
         Thus, under binding Eleventh Circuit precedent, both of Williams’
 prior convictions counted toward his career-offender status. Counsel’s
 performance at sentencing was thus not deficient because any effort to
 raise the Supreme Court’s decision in Mathis would have been futile.
 Pinkney, 876 F.3d at 1297. For the same reasons, Williams was not prej-
 udiced by counsel’s decision against raising Mathis, since such an
 objection would have failed.

    D.     Appeal
         Finally, Williams argues that he was denied his right to counsel on
 appeal when counsel, Domingo Soto, filed an Anders brief. [Doc. No. 84-
 1 at 20; see Exhibit A.] He cannot show deficient performance or preju-
 dice on that claim, either.

         To show that appellate counsel’s performance was deficient in filing
 an Anders brief, Williams must show that counsel failed to comply with
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 Anders’ requirements. Grubbs v. Singletary, 120 F.3d 1174, 1177 (11th
 Cir. 1997). To do so, counsel was required to file a brief “referring to

 anything in the record that might arguably support the appeal” and fur-
 nish the brief to Williams for the opportunity to raise additional issues.
 Anders v. State of Cal., 386 U.S. 738, 744 (1967). If appellate counsel files
 a brief that complies with that rule, even if it “only marginally complied,”
 the attorney’s performance was not deficient. Grubbs, 120 F.3d at 1177.
       Appellate counsel’s brief far exceeded Anders’ requirements. Be-

 yond merely referencing potentially appealable issues, appellate
 counsel’s brief thoroughly reviewed the facts of Williams’ case and dis-
 cussed issues that could potentially be raised on appeal. [Exhibit A.] In
 particular, it parsed whether Williams’ waiver of appeal would be en-
 forceable and concluded that it would. [Id. at 14–15.] Even though
 counsel concluded that Williams had validly waived sentencing argu-
 ments, counsel went further and analyzed potential sentencing issues in
 Williams’ case. [Id. at 17–21.] Counsel properly supplied Williams with
 a copy of the brief. [Id. at 22.]
       As with the deficient performance prong, Williams cannot carry his
 burden to show that appellate counsel’s performance prejudiced him.
 First, even if counsel had raised the argument identified in Williams’ mo-
 tion, the result of the appeal would have been the same. The United
 States moved to dismiss Williams’ appeal based on his valid waiver of
 appeal. The Court of Appeals granted that motion. [Doc. No. 81 at 2–3.]

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 In dismissing Williams’ appeal, it held that any argument concerning his
 career offender status was within the scope of his appeal waiver. [Id.]

 Thus, even had counsel on appeal raised a challenge to Williams’ career
 offender status, the appeal would have been dismissed based on his valid
 waiver of appeal.
         Moreover, even if Williams’ appeal waiver somehow did not apply
 to his career-offender argument, he was not prejudiced by counsel’s fail-
 ure to raise it because it was meritless. That is because, as described

 above, his arguments about whether he was properly sentenced as a ca-
 reer offender are meritless. See supra, IV.C.

    E.     Williams’ motion does not establish that evidence was
           withheld in violation of Brady
         Any implied Brady claim in Williams’ motion for discovery should
 be denied. [See Doc. No. 86.] Williams requests the grand jury tran-
 scripts, the “chain of custody authorization” for the confidential
 informant in question, unspecified “investigative materials,” and his
 “case file.” [Id. at 2.] He says that those materials would show that “the
 government withheld favorable evidence from the defense and the court

 about the confidential informant.” [Id.] Namely, he claims that the ma-
 terials would show that the confidential informant had “pending drug
 charges” in another state and had “cross[ed] state line[s]” while “acting

 in the capacity of a special agent.” [Id.]



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       To the extent that Williams intends to advance a claim that the
 United States withheld evidence in violation of Brady v. Maryland, 373

 U.S. 83 (1963), his claim is waived and meritless. As set out above, Sec-
 tion IV.B., Williams’ plea—including his waiver of filing most § 2255
 claims—was knowing and voluntary. And he does not currently make
 any argument concerning his waiver to raise any claim in a § 2255 motion
 other than ineffective assistance of counsel. [See Doc. No. 33 at 6–7.]
 Thus, to the extent that he raises a Brady claim, the claim is within the

 scope of that waiver and should be dismissed. United States v. Pizarro-
 Campos, 506 F. App’x 947, 950 (11th Cir. 2013) (a defendant’s voluntary
 waiver of their right to appeal included a Brady claim); accord United
 States v. Jerdine, 511 F. App’x 391, 393 (6th Cir. 2013).
       Moreover, Williams’ reference to withheld evidence does not estab-
 lish a Brady violation. To establish a Brady violation, the defendant
 must show that (1) the government possessed favorable evidence to the
 defendant; (2) the defendant does not possess the evidence and could not
 obtain the evidence with any reasonable diligence; (3) the prosecution
 suppressed the favorable evidence; and (4) had the evidence been dis-
 closed to the defendant, there is a reasonable probability that the
 outcome would have been different. United States v. Vallejo, 297 F.3d
 1154, 1164 (11th Cir. 2002).
       A “reasonable probability” is a probability “sufficient to undermine
 the confidence in the outcome.” United States v. Bagley, 473 U.S. 667,

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 682 (1985). A “mere possibility that an item of undisclosed information
 might have helped the defense” does not establish prejudice. United

 States v. Brewster, 786 F.3d 1335, 1339 (11th Cir. 2015) (quoting United
 States v. Agurs, 427 U.S. 97, 109–10 (1976)).
       Moreover, “the Constitution does not require the Government to
 disclose material impeachment evidence prior to entering a plea agree-
 ment with a criminal defendant.” United States v. Ruiz, 536 U.S. 622,
 633 (2002). Thus, where a defendant claims that the prosecution with-

 held potentially useful impeachment evidence prior to their guilty plea,
 their claim may be denied without further analysis. United States v. Wil-
 liams, 824 F. App’x 750, 755–56 (11th Cir. 2020) (quoting Ruiz, 536 U.S.
 at 628, 633).
       Applying those principles, the allegations in Williams’ motion, even
 if credited, would not give rise to an actionable Brady claim. He says that
 the “favorable” evidence in question would show that the CI was working
 with the police. [Doc. No. 86 at 2.] But that fact was evident on the face
 of the search warrant affidavit and not withheld from the defense. [See
 Doc. No. 84-1 at 6–19.] He also asserts that a person he believes was the
 CI had pending drug charges in another state. [Doc. No. 86 at 2.] At
 best, however, that information would be relevant only to impeach the
 CI’s testimony had the CI testified. As noted, however, defendants do not
 have a constitutional right to impeachment evidence prior to entering a
 plea agreement. Ruiz, 536 U.S. at 633. Even if potential impeachment

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 evidence had not been provided to the defense, Williams was not entitled
 to it.

          Moreover, any potential impeachment information about the CI
 would fail to give rise to a “reasonable probability that the outcome would
 have been different.” Vallejo, 297 F.3d at 1164. As described in the
 search warrant affidavit and as Williams admitted in the plea agree-
 ment, the controlled buys of controlled substances were videotaped. [Doc.
 Nos. 33 at 10–11; 84-1 at 6, 7, 9, 11.] Even if he had the ability and

 opportunity to impeach the CI, then, it would have utterly failed to un-
 dercut the recordings of Williams’ interactions with the CI.
          In sum, Williams’ reference to supposed favorable evidence being
 withheld from the defense does not establish a basis for relief. Such a
 claim was within the scope of the enforceable waiver in his plea agree-
 ment and should be dismissed. In the alternative, the claim would be
 properly denied as meritless.

 V.       Williams’ Motion for Discovery Should Be Denied
          Based on the analysis above, Williams’ motion for discovery should
 also be denied. [Doc. No. 86.] “Unlike typical civil litigants, habeas peti-
 tioners are ‘not entitled to discovery as a matter of ordinary course.’”
 Bowers v. U.S. Parole Com’n, Warden, 760 F.3d 1177, 1183 (11th Cir.
 2014) (quoting Bracy v. Gramley, 520 U.S. 899, 904 (1997)). Instead, dis-

 covery requests are governed by Rule 6(a) of the Rules Governing Section
 2255 Cases in the United States District Courts, which provides that a
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 judge may, “for good cause, authorize a party to conduct discovery.” The
 same rule further provides that the requesting party “must provide rea-

 sons for the request” and “specify any requested documents.” Rule 6(b).
 This limitation is “consistent with the general admonition against allow-
 ing federal prisoners to use discovery in habeas proceedings as a fishing
 expedition.” United States v. Cuya, 964 F.3d 969, 974 (11th Cir. 2020).
       “Good cause” for discovery means that the defendant has advanced
 “specific allegations” that “show reason to believe that the petitioner may,

 if the facts are fully developed, be able to demonstrate that he is entitled
 to relief.” Bowers, 760 F.3d at 1183 (concerning the identical rule gov-
 erning discovery in 2254 motions). A court’s decision on a discovery
 request is reviewed for an abuse of discretion. Id.
       Given the analysis demonstrating the lack of merit in Williams’ mo-
 tion, there is no good cause for discovery. Each of his claims of ineffective
 assistance of counsel may be denied without a hearing based on the ex-
 isting record. And, even assuming the existence of evidence as described
 in his motion for discovery, counsel’s performance would remain consti-
 tutionally adequate. Again assuming the existence of the evidence he
 seeks, any reliance on Brady would be similarly unsuccessful.

 VI.   Conclusion
       Williams’ motions for discovery and to vacate his sentence should

 be denied without a hearing.


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       Respectfully submitted,

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                         CERTIFICATE OF SERVICE

       I certify that, on July 26, 2021, I electronically filed the foregoing
 with the Clerk of Court using the CM/ECF system, which will automati-
 cally serve any counsel of record. Further, a copy of the foregoing was
 mailed on this date to: Terrance D. Williams, No. 06406-003, FCI
 Bastrop, P.O. Box 1010, Bastrop, Texas 78602.

                                           /s/ Oliver McDonald
                                           Oliver McDonald
                                           Assistant United States Attorney




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